                               CERTIFICATION OF SERVICE OF SUMMONS
                                 Adversary Proceeding No. 22−06008−tmr

Instructions to Filer:

You may use this form to file certification of service of summons with the court or, alternatively, use the
fillable–PDF version, Local Bankruptcy Form (LBF) 305, located on the court's website
(www.orb.uscourts.gov/forms). See LBF ADV, Procedures re: Filing an Adversary Proceeding Complaint,
for more information about service of summons.
     Heather Bernhardt
I,                                                (name), certify that service of this summons and a copy of
the complaint was made on April 11 2022         (date) by (enter "N/A" for service methods that do not apply):

• Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:
   David Paul Williams
   2580 Gilham Rd.
   Eugene, OR 97408
• Personal Service: By leaving the process with the defendant or with an office or agent of defendant at:




• Residence Service: By leaving the process with the following adult at:




• Certified Mail Service on an Insured Depository Institution: By Sending the process by certified mail
addressed to the following officer of the defendant at:




• Publication: the defendant was served as follows (describe briefly):




• State Law: The defendant was served pursuant to the laws of the State of                          as follows
(describe briefly):




If service was made by personal service, by residence service, or pursuant to state law, I further certify that
I am, and at all times during the service of process, was not less than 18 years of age and not a party to the
matter concerning which service of process was made.

Under penalty of perjury, I declare the the foregoing is true and correct.


April 14, 2022                           /s/ Heather Bernhardt
Date                                    Signature
                                         Heather Bernhardt
                                        Print Name
                                        1211 SW 5th Avenue, Suite 1900

                                        Address
                                        Portland, Oregon 97204



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                                                                       04/14/22
SUM2 (11/5/20) lew               UNITED STATES BANKRUPTCY COURT                  U.S. BANKRUPTCY COURT
                                          District of Oregon                      DISTRICT OF OREGON
                                                                                         FILED
In re                                         )
 David Paul Williams                          )                                         April 8, 2022
                              Debtor(s)       )   Case No. 22−60031−tmr7        Clerk, U.S. Bankruptcy Court
                                              )
Celeste McEntee                               )                                        BY lew DEPUTY
et al.                                        )   ADVERSARY PROCEEDING
                              Plaintiff(s)    )   SUMMONS AND NOTICE OF
                                              )   PRETRIAL CONFERENCE
                            v.                )
David Paul Williams                           )
                              Defendant(s)    )   Adv. Proc. No. 22−06008−tmr
                                              )


To the defendant(s) named in the enclosed complaint:

You are hereby summoned and required to file an answer or motion to the complaint enclosed with this
summons. The motion or answer must be filed with the clerk of the bankruptcy court within 30 days after
the date of issuance of this summons, except that the United States and its offices and agencies must file
an answer or motion to the complaint within 35 days.

Address of the clerk: 405 E 8th Ave #2600, Eugene, OR 97401

On the same date, you must serve the answer or motion on the plaintiff's attorney, CRAIG G RUSSILLO, at
Schwabe Williamson & Wyatt, P.C., 1211 SW 5th Ave #1600−1900, Portland, OR 97204−3795,

If you plan to file a motion, note that your time to do so is governed by Federal Rule of Bankruptcy
Procedures 7012.

If you fail to respond to this summons, your failure will be deemed to be your consent to entry of a
judgment by the bankruptcy court, and judgment by default or any other appropriate action
consistent with the pleadings may be taken against you for the relief demanded in the complaint.

Any document regarding this matter must include both the adversary case number and the bankruptcy case
number.

NOTICE IS GIVEN THAT:

1. A pretrial conference concerning this complaint has been set for a TELEPHONE HEARING to be held
   at 10:00 AM on 6/14/22.

                       Call in Number: (888) 684−8852        Access Code 3388495

2. Each participant must comply with each hearing requirement listed on the back of, or attached to, this
   notice. If you have problems connecting, call the court at (503) 326−1500 or (541) 431−4000.

YOU ARE FURTHER NOTIFIED that if you have any questions, you should see your attorney
immediately. If you do not have an attorney and need help finding one, you may call the Oregon State
Bar's Lawyer Referral Service at (503) 684−3763 or toll−free in Oregon at (800) 452−7636.

                                                                           /s/ Kirsten S Wilkinson
                                                                           Clerk, U.S. Bankruptcy Court


Date of issuance: 4/8/22




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                            TELEPHONE HEARING REQUIREMENTS
a. You must call in and connect to the telephone hearing line or personally appear in the judge's
   courtroom no later than the hearing time above. The court will not call you.

b. You may be asked to call again from another phone if your connection is weak or creates static or
   disruptive noise.

c. Please mute your phone when you are not speaking. If you do not have a mute function on your
   phone, press *6 to mute and *6 again to unmute if you need to speak. Do not put the court on hold if
   it will result in music or other noise. If available, set the phone to "Do Not Disturb" so it will not ring
   during the hearing.

d. When it is time for you to speak, take your phone off the "speaker" option to minimize background
   noise. Position the telephone to minimize paper rustling. Do not use a keyboard or talk with others in
   the room. Be aware that telephone hearings may be amplified throughout the courtroom.

e. Do not announce your presence until the court calls your case. Simply stay on the line, even if there
   is only silence, until the judge starts the hearings, and then continue to listen quietly until your case
   is called.

f. Whenever speaking, first identify yourself.

g. Be on time. The judge may handle late calls the same as a late appearance in the courtroom.
                                                                         Clerk, U.S. Bankruptcy Court




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                                                                    04/14/22
